      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 1 of 30




 1 Jason ‘Jay’ Barnes (admitted pro hac vice)         Geoffrey Graber, State Bar No. 211547
     jaybarnes@simmonsfirm.com                          ggraber@cohenmilstein.com
 2 SIMMONS HANLY CONROY LLP                           COHEN MILSTEIN SELLERS & TOLL
   112 Madison Avenue, 7th Floor                      PLLC
 3 New York, NY 10016                                 1100 New York Avenue NW, Fifth Floor
   Tel:     212-784-6400                              Washington, DC 20005
 4 Fax:     212-213-5949                              Tel: 202-408-4600
                                                      Fax: 202-408-4699
 5
     Jeffrey A. Koncius, State Bar No. 189803         Beth E. Terrell, State Bar No. 178181
 6     koncius@kiesel.law                              bterrell@terrellmarshall.com
     KIESEL LAW LLP                                   TERRELL MARSHALL LAW GROUP
 7   8648 Wilshire Boulevard                          PLLC
     Beverly Hills, CA 90211                          936 North 34th Street, Suite 300
 8   Tel: 310-854-4444                                Seattle, WA 98103
     Fax: 310-854-0812                                Tel.: 206-816-6603
 9                                                    Fax: 206-319-5450

10                                                    Andre M. Mura, State Bar No. 298541
   Attorneys for Plaintiffs                             amm@classlawgroup.com
11 JOHN DOE, JANE DOE I, JANE DOE II, and             GIBBS LAW GROUP LLP
   JOHN DOE II, and DOE, on behalf of                 1111 Broadway, Suite 2100
12 themselves and all others similarly situated       Oakland, CA 94607
                                                      Tel.: 510-350-9700
13 [Additional counsel listed on signature page]      Fax: 510-350-9701
14

15                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                 SAN JOSE DIVISION
17   IN RE META PIXEL HEALTHCARE                   Case No. 3:22-cv-03580-WHO (VKD)
     LITIGATION
18                                                 CLASS ACTION
19   This Document Relates To:                     **REDACTED VERSION**
20   All Actions                                   PLAINTIFFS’ NOTICE OF MOTION AND
                                                   RULE 37 MOTION FOR SANCTIONS TO
21
                                                   ENFORCE DKT. 275, THE COURT’S JUNE
22                                                 13, 2023 ORDER FOR PRODUCTION OF
                                                   DOCUMENTS RESPONSIVE TO REQUESTS
23                                                 FOR PRODUCTION NOS. 5-7
24                                                 Judge: Hon. Virginia K. DeMarchi
25                                                 Hearing Date: November 7, 2023
                                                   Hearing Time: 10:00 a.m.
26                                                 Courtroom: 2, Fifth Floor

27

28

                            MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                            CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 2 of 30




 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT on November 7, 2023, at 10:00 a.m., in Courtroom 2,

 3 5th Floor, of this Court, located at 280 South 1st Street, San Jose, California, before the Honorable

 4 Virginia K. DeMarchi, Magistrate Judge of the United States District Court for the Northern District

 5 of California, Plaintiffs will and do hereby move the Court, pursuant to Federal Rule of Civil

 6 Procedure 37(b), Civil Local Rule 37, and ¶ 4 of the Standing Order for Civil Cases before the

 7 Honorable Magistrate Judge Virginia K. DeMarchi and for the reasons set forth below and in the

 8 accompanying Declaration of Jay Barnes, for an Order to enforce Dkt. 275, the Court’s June 13,

 9 2023 Order for the production of documents responsive to Plaintiffs’ Requests for Production

10 (“RFP”) Nos. 5-7 and additional sanctions that the Court deems appropriate, including monetary

11 sanctions, a finding of contempt, or any other relief.

12          The Court ordered Meta to complete discovery in response to Plaintiffs’ RFP Nos. 5-7 by

13 June 30, 2023. Dkt. 275. Meta has failed to comply with the Court’s Order. Meta has produced just

14 19 documents – 13 of which are publicly available – that omit information concerning data sources,

15 data flow, and data fields that have been the subject of the parties’ discussions since the inception

16 of this case. Plaintiffs have sent over a dozen letters to Meta concerning the deficient production

17 and have met and conferred with Meta on three occasions. Meta claims it has not identified any

18 additional responsive documents. At the parties’ meet and confer, Meta suggested its severely

19 incomplete production is based on the “phrasing” of Plaintiffs’ Requests.

20          This motion seeks an Order enforcing the Court’s June 13, 2023 Order at Dkt. 275 and

21 requiring Meta to produce document including but not limited to:

22          1.     Documents concerning Hive, DYI/DYD, Switchboard, Everstore, Manifold, Scuba,

23 logs referenced in Meta’s January 2023 white paper titled “Shared Foundations: Modernizing

24 Meta’s Data Lakehouse,” containers,                      ,          ,             , TAO, MySQL,

25 ZippyDB/Akkio, Memcache, Laser, Puma, Stylus, Swift, and the filter identified in Meta’s

26 opposition to Plaintiffs’ motion for preliminary injunction, as well as any other data source as yet

27 unknown to Plaintiffs due to Meta’s failure to produce responsive documents;

28 / / /
                                                     2
                              MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 3 of 30




 1          2.     The fields within each data source identified, including derived and inferred fields;

 2 and

 3          3.     Corresponding data flow, including through Meta’s backend systems such as Hive

 4 and the list included in paragraph 1.

 5          Plaintiffs request that the order specify that Meta must produce this information by no later

 6 than November 14, 2023, or at a time the Court considers reasonable, as well as all other forms relief

 7 the Court deems appropriate.

 8 Dated: October 3, 2023                         By: /s/ Jay Barnes

 9                                                SIMMONS HANLY CONROY LLP
                                                  Jason ‘Jay’ Barnes (admitted pro hac vice)
10                                                  jaybarnes@simmonsfirm.com
                                                  112 Madison Avenue, 7th Floor
11                                                New York, NY 10016
                                                  Tel: 212-784-6400
12                                                Fax: 212-213-5949

13                                                COHEN MILSTEIN SELLERS & TOLL PLLC
                                                  Geoffrey Graber, State Bar No. 211547
14                                                  ggraber@cohenmilstein.com
                                                  1100 New York Avenue NW, Fifth Floor
15                                                Washington, DC 20005
                                                  Tel: 202-408-4600
16                                                Fax: 202-408-4699

17                                                KIESEL LAW LLP
                                                  Jeffrey A. Koncius, State Bar No. 189803
18                                                  koncius@kiesel.law
                                                  8648 Wilshire Boulevard
19                                                Beverly Hills, CA 90211
                                                  Tel: 310-854-4444
20                                                Fax: 310-854-0812

21                                                TERRELL MARSHALL LAW GROUP PLLC
                                                  Beth E. Terrell, State Bar No. 178181
22                                                 bterrell@terrellmarshall.com
                                                  936 North 34th Street, Suite 300
23                                                Seattle, WA 98103
                                                  Tel.: 206-816-6603
24                                                Fax: 206-319-5450

25                                                GIBBS LAW GROUP LLP
                                                  Andre M. Mura, State Bar No. 298541
26                                                  amm@classlawgroup.com
                                                  1111 Broadway, Suite 2100
27                                                Oakland, CA 94607
                                                  Tel.: 510-350-9700
28                                                Fax: 510-350-9701
                                                      3
                              MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
        Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 4 of 30




 1                                                  TABLE OF CONTENTS

 2 I.       INTRODUCTION ..................................................................................................................1

 3 II.      BACKGROUND ....................................................................................................................3

 4          A.        Plaintiffs’ Requests for Production Nos. 5-7 .............................................................3

 5                    1.         Meta’s Omissions – Data Sources ..................................................................5

 6                               a.        Relevant Data Sources Identified by Meta in this Litigation .............5

 7                               b.        Relevant Data Sources Identified in Public Engineering
                                           Documents, Court Filings, and Meta’s Limited Production ..............8
 8
                      2.         Meta’s Omissions – The Pixel Filter ............................................................10
 9
                      3.         Meta’s Omissions – Fields ...........................................................................12
10
                      4.         The Parties’ Discussions Regarding RFP Nos. 5-7 ......................................14
11
                      5.         Why the Information Is Critical ...................................................................15
12
     III.   LEGAL STANDARDS ........................................................................................................21
13
     IV.    ARGUMENT .......................................................................................................................21
14
     V.     CONCLUSION ....................................................................................................................22
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                       i
                                      MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                      CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 5 of 30




 1                                                      TABLE OF AUTHORITIES

 2

 3 Cases

 4 Apple Inc. v. Samsung Elecs. Co.
          2018 WL 1586276 (N.D. Cal. Apr. 2, 2018) ...................................................................... 21
 5
   Hyde & Drath v. Baker
 6        24 F.3d 1162 (9th Cir. 1994) ............................................................................................... 21

 7 M2 Software, Inc. v. M2 Commcn’s, L.L.C.
          217 F.R.D. 499 (C.D. Cal. 2003) .......................................................................................... 4
 8
   Valley Engineers Inc. v. Elec. En’g Co.
 9        158 F.3d 1051 (9th Cir. 1998) ............................................................................................. 21

10

11 Statutes

12 18 U.S.C. § 2511(2)(d) .................................................................................................................... 17

13

14 Rules

15 Fed. R. Civ. P. 37 .............................................................................................................................. 1

16 Fed. R. Civ. P. 37(b)(2) ................................................................................................................... 21

17 Fed. R. Civ. P. 37(b)(2)(A) ............................................................................................................... 1

18

19

20

21

22

23

24

25

26

27

28
                                                                             ii
                                           MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                           CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 6 of 30




 1 I.        INTRODUCTION

 2           Pursuant to Fed. R. Civ. P. 37 and ¶ 4 of the Court’s Standing Order for Civil Cases, Plaintiffs

 3 move for sanctions to enforce the Court’s June 13, 2023 Order (Dkt. 275), which directed Meta to

 4 complete discovery in response to Plaintiffs’ Request for Production Nos. 5-7 (the “Requests”) by

 5 June 30, 2023. See Fed. R. Civ. P. 37(b)(2)(A); N.D. Cal. Civ. L.R. 37-4. To date, Meta has failed

 6 to comply with the Court’s Order.

 7           The Requests, served nearly eight months ago, seek discovery sufficient to identify the data

 8 flow related to the Meta Pixel (RFP 5), as well as relevant data sources (RFP 6), and corresponding

 9 data fields (RFP 7). See Declaration of Jason “Jay” Barnes ISO Plaintiffs’ Motion to Enforce

10 (“Barnes Decl.”), Ex. 1. Following a two-month period of meet and confers, during which Meta

11 delayed production, Plaintiffs moved - via joint letter brief dated May 17, 2023 - to compel

12 production by a date certain. See Dkt. 247. In that May 17, 2023 Joint Letter Brief, Meta agreed to

13 “the exact discovery Plaintiffs seek,” but resisted a production deadline. Id. at 4. On June 13, 2023,

14 the Court ordered Meta to produce documents responsive to RFP Nos. 5-7 by June 30, 2023. Dkt.

15 275.

16           Meta failed to comply with this Court-mandated deadline and, three months later, has given

17 no indication that it will ever comply with the order. To date, Meta has not completed discovery

18 related to data flow, data sources, and data fields. Instead, between June 30 and July 2, 2023, Meta

19 produced merely 19 documents – 13 of which are publicly available. Barnes Decl., ¶ 6. Plaintiffs’

20 review of these documents reveals glaring deficiencies. Specifically, Meta did not produce:

21 (1) documents concerning relevant data sources, omitting from its production at least nine relevant

22 data sources; (2) documents related to the Pixel filter, which Meta itself placed at issue in its

23 opposition to Plaintiffs’ motion for preliminary injunction and Meta’s motion to dismiss;1 and

24 (3) documents sufficient to identify and describe the fields contained within relevant data sources.

25

26   1
    As discussed below, in its opposition to Plaintiffs’ Motion for Preliminary Injunction, Meta
   asserted that the Pixel Filter would alter the flow of the data at issue. See Dkt. 76 at 19; Dkt. 76-1,
27 Declaration of Tobias Wooldridge in Support of Defendant Meta Platforms, Inc.’s Opposition to

28 Plaintiffs’ Motion for Preliminary Injunction ¶ 8.
                                                      1
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 7 of 30




 1 These documents are critical to Plaintiffs’ and their experts’ understanding of how Meta uses the at-

 2 issue data and the accuracy of its claims regarding its privacy programs. In fact, Plaintiffs’ expert

 3 Dr. Timothy Libert states that it is not possible to conduct a privacy audit in the absence of these

 4 documents – a statement that is supported by other experts and standard operating procedures for

 5 privacy audits. See Declaration of Timothy Libert ISO Plaintiffs’ Motion to Enforce Dkt. 275, the

 6 Court’s June 13, 2023 Order for Production of Documents Responsive to Request for Production

 7 Nos. 5-7 (“Libert Decl.”), ¶¶ 11, 15, 19-26.

 8           On July 7, 2023, Plaintiffs identified these deficiencies to Meta and requested a meet and

 9 confer. Barnes Decl., ¶ 58, Ex. 20 (7/7/23 letter); see also id., ¶ 57, Ex. 19 (7/3/23 email). Meta

10 essentially ignored Plaintiffs’ request. See id., ¶ 59, Ex. 21 (7/17/23 email). In the ensuing six weeks,

11 Plaintiffs sent six follow-up letters requesting a response (see id., ¶ 60, Ex. 22 (7/24/23 letter), ¶ 61,

12 Ex. 23 (7/31/23 letter), ¶ 62, Ex. 24 (8/2/23 letter), ¶ 64, Ex. 26 (8/7/23 letter), ¶ 65, Ex. 27 (8/14/23

13 letter), ¶ 66, Ex. 28), to which Meta vaguely responded that it “continued to investigate” the

14 existence of additional documents. See id., ¶ 63, Ex. 25 (8/5/23 email). Finally, after nearly two

15 months, during the parties’ meet and confer on August 28-29, Meta claimed – for the first time in

16 almost seven months since RFP Nos. 5-7 were served – that its deficient production was due to the

17 “phrasing” of Plaintiffs’ Requests. See id., ¶ 69; see also id., ¶ 70, Ex. 30 (8/30/23 letter). But neither

18 claims of “investigation” nor “phrasing” refute the deficiencies that Plaintiffs identified.2 In truth,

19 Meta’s purported investigation and feigned confusion has simply delayed discovery of documents

20 that are foundational to Plaintiffs’ case and rebutting Meta’s asserted defenses. Worse, Meta’s

21 conduct violates this Court’s Order, which directed completion of production by June 30, 2023.

22 Plaintiffs respectfully request enforcement of the June 13, 2023 Order and such other relief as the

23 Court deems appropriate.

24 / / /

25 / / /

26
     2
    On September 15, 2023, Meta offered to convert Plaintiffs’ RFP No. 7 into an Interrogatory,
27
   providing Plaintiffs with a list of fields that Meta’s counsel decides to disclose. Barnes Decl. ¶ 73,
28 Ex. 32 (9/15/23 letter); see also id., ¶¶ 71, 72, Ex. 31 (9/1/23 letter).
                                                       2
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 8 of 30




 1 II.      BACKGROUND

 2          The details of Meta’s data flow, data sources, and fields contained within them are

 3 foundational to this litigation. See Libert Decl. ¶ 10 (“the documents requested in RFP Nos. 5-7 are

 4 critical to investigating and answering the questions that I have been assigned to investigate”). From

 5 these documents, Plaintiffs seek to learn key information about exactly how Meta uses the at-issue

 6 data, an issue relevant to Meta’s knowledge, intent, damages, and class certification. These

 7 documents have been a focus of discussions about preservation and ESI as well — and will

 8 ultimately serve as evidence supporting Plaintiffs’ claims and/or Meta’s defenses, as illustrated by

 9 the Court’s focus on Meta’s purported filter in its preliminary injunction (Dkt. 159 at 31-32) and

10 motion to dismiss orders (Dkt. 316 at 4-5).

11          A.      Plaintiffs’ Requests for Production Nos. 5-7

12          Plaintiffs propounded their first set of Requests for Production on February 9, 2023, three of

13 which are relevant to this motion. See Barnes Decl., Ex. 1. Request No. 5 requests “[d]ocuments

14 sufficient to show the data flow through which Meta receives information via the Meta Pixel

15 deployed on Medical Provider Web-Properties[.]” Id., ¶ 5. Request No. 6 requests “[d]ocuments

16 sufficient to identify the databases, logs, or other electronic sources where Meta receives, re-directs,

17 or stores event-level and/or derived data collected through and associated with the Meta Pixel for

18 Medical Provider Web-Properties[.]” Id. And Request No. 7 requests “[d]ocuments sufficient to

19 identify and describe each of the fields in databases, logs, or other electronic sources where Meta

20 receives, re-directs, or stores event-level and/or derived data collected through and associated with

21 the Meta Pixel for Medical Provider Web-Properties . . . includ[ing] but not limited to, data

22 dictionaries.” Id.

23          The information requested by RFP Nos. 5-7 is undisputedly core to Plaintiffs’ claims and

24 Meta’s defenses. As explained by Dr. Libert, this information is critical to understanding “how a

25 company uses a specific category of data,” “precisely how the system is designed through data flow

26 and data storage schematics and related information,” and “how Meta could comply with a Court

27 order that it stop collecting such information in the first place – and stop using data in its systems

28 that was either collected without authorization as alleged by the Plaintiffs or inferred or derived
                                                   3
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 9 of 30




 1 from unauthorized data collection.” Libert Decl. ¶¶ 14-16.

 2           Despite Plaintiffs’ early focus on obtaining this information, production has been slow to

 3 appear. This is not for Plaintiffs’ lack of trying. Data source disclosures have been repeatedly

 4 discussed at case management conferences and discovery hearings. See Barnes Decl., ¶¶ 74-76, Ex.

 5 33 (3/14/23 Hr’g Tr.); ¶¶ 85-87, Ex. 37 (Apr. 20, 204/20/23 Hr’g Tr.); ¶¶ 91-94, Ex. 40 (5/23/23

 6 Hr’g Tr.). Plaintiffs have also sent Meta numerous letters requesting information on “where Named

 7 Plaintiff Data relevant to this case is stored” and “the fields that are located in those databases or

 8 data sources[.]” Id., ¶ 89, Ex. 39 (4/26/23 letter); see also id., ¶ 97, Ex. 42 (5/31/23 letter). When

 9 Meta was not forthcoming with information, Plaintiffs scoured public sources to send further letters

10 inquiring into specific data systems and fields identified in Meta’s public engineering documents

11 and prior court filings. Id., ¶¶ 7, 12, 17, 21, 26, Ex. 2 (3/23/23 letter); see also id., ¶ 80, Ex. 35

12 (4/4/23 letter). Meta, in contrast, has stymied the flow of information, identifying only a limited set

13 of data sources in its ESI disclosures and preservation correspondence. Id., ¶¶ 8, 13, 18, 22, 27, Ex.

14 3 (5/18/23 letter); ¶¶ 9, 14, 19, Ex. 4 (6/30/23 letter). In total, Plaintiffs have sent Meta well over a

15 dozen emails, letters or formal discovery requests seeking information on relevant data sources, data

16 flow and data fields. See e.g., id., Exs. 1, 2, 10, 24, 28, 31, 35, 36, 39, 41, 42. Yet, more than a year

17 into this case, Plaintiffs are effectively nowhere – possessing not much more information on this

18 foundational issue than that which was already publicly available.

19           On May 17, 2023, the parties filed a joint discovery dispute letter concerning the timeline

20 for Meta’s production of documents responsive to the Requests. Dkt. 247. Meta did not question

21 relevance, scope, or proportionality. See id.3 Instead, Meta simply stated it would provide Plaintiffs

22 with the “exact discovery Plaintiffs seek” by June 30, 2023. Id. at p. 4. Thus, on June 13, 2023, the

23 Court accepted Meta’s representation and ordered “Meta to produce the documents responsive to”

24 the RFPs by June 30. Dkt. 275.

25

26   3
     In so doing, Meta waived any such arguments and may not raise them as a defense to its failure
   to comply with a Court order. See M2 Software, Inc. v. M2 Commcn’s, L.L.C., 217 F.R.D. 499,
27 501 (C.D. Cal. 2003) (party had “waived relevancy objections by responding to each request that it

28 will produce the requested documents”).
                                                  4
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 10 of 30




 1                    1.      Meta’s Omissions – Data Sources

 2            Despite the agreement (and Court order) that Meta would produce documents responsive to

 3 RFP Nos. 5-7, Meta produced only 19 documents between June 30 and July 2, 2023. Barnes Decl.,

 4 ¶ 6. Meta’s production contained multiple notable omissions, including a failure to produce

 5 documents related to relevant data sources that Meta has acknowledged to be “                              ”

 6 or “           ” to this litigation. See id., Ex. 3 (5/18/23 letter), Ex. 4 (6/30/23 letter). The production

 7 also omits data sources that have been identified in public engineering documents and other court

 8 filings, the descriptions of which indicate that they are relevant and responsive to the Requests.

 9 Plaintiffs address these known data sources below.4

10                            a.       Relevant Data Sources Identified by Meta in this Litigation

11            1. Hive

12            In initial correspondence concerning preservation, Plaintiffs requested that Meta preserve
13 Named Plaintiff Data from “Hive.” Barnes Decl., ¶ 7, Ex. 2 (3/23/23 letter).

14

15                                        ” Id., ¶ 8, Ex. 3 (5/18/23 letter). Meta also
16           , id., ¶ 9, Ex. 4 (6/30/23 letter),                                                        , id., ¶
17 10. The following chart is a diagram from a public document describing the Hive’s very general

18 architecture:5

19

20

21   4
       Plaintiffs do not intend the list included herein to be considered a complete list. There is no way
     for Plaintiffs to know what a complete list would entail given Meta’s failure to identify data
22
     sources in the ESI process and its violation of the Requests at issue here. To obtain what may be a
23   complete list, Plaintiffs served RFP 180.6, which sought documents related to a “update[d] list of
     149 systems identified in the Declaration of David Pope,” a Meta employee. Barnes Decl., ¶ 95,
24   Ex. 41. In response, Meta informed Plaintiffs that RFP 180 sought an “update” to such a list, and
     no update was given. Id., ¶ 96. When Plaintiffs asked if Meta would produce the Pope Declaration
25   that identified those systems, Meta refused to provide an answer and stated that RFP 180 did not
26   request the Declaration itself, id., thus suggesting that Plaintiffs would have to propound another
     RFP.
27   5
    “Data Warehousing and Analytics Infrastructure at Facebook,” available at
28 http://borthakur.com/ftp/sigmodwarehouse2010.pdf
                                                 5
                                   MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                   CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
     Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 11 of 30




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15          To date, Meta has not any responsive documents concerning Hive. Id., ¶ 11.
16          2. Switchboard
17          Plaintiffs requested that Meta preserve Named Plaintiff data from “Switchboard.” Barnes
18 Decl., ¶ 12, Ex. 2 (3/23/23 letter). Meta later

19

20       ” other data sources. Id., ¶ 13, Ex. 3 (5/18/23 letter). Meta also
21         , id., ¶ 14, Ex. 4 (6/30/23 letter), and agreed to produced Named Plaintiff data from the source,
22 id., ¶ 15.

23          To date, Meta has not produced any responsive documents concerning Switchboard. Id. ¶ 16.
24          3. DYI/DYD
25          Plaintiffs requested that Meta preserve data from “Download Your Information” or “DYI.”
26 Barnes Decl., ¶ 17, Ex. 2 (3/23/23 letter). Meta subsequently

27                                                                                         Id., ¶ 18, Ex. 3
28 (5/18/23 letter). DYI/DYD includes “Off-Facebook Activity,” i.e. the data Meta collects from other
                                                 6
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 12 of 30




 1 apps and websites, including activity collected through the Pixel.6 Meta also

 2                 . Barnes Decl., ¶ 19, Ex. 4 (6/30/23 letter).

 3           To date, Meta has not produced any documents concerning DYI/DYD. Id. ¶ 20.

 4           4. Everstore & Manifold

 5           Plaintiffs requested that Meta preserve data from “Manifold” and “Everstore,” Barnes Decl.,

 6 ¶ 21, Ex. 2 (3/23/23 letter), and Meta thereafter

 7

 8                                                                         ” id., ¶ 22, Ex. 3 (5/18/23 letter).

 9 During a meet and confer, Meta stated that

10

11                                                         . Id., ¶ 23. Then, Meta changed course and stated

12 it

13                      ¶ 24.

14           To date, Meta has not produced any documents concerning Everstore or Manifold. Id., ¶ 25.

15           5. Scuba

16           Plaintiffs requested that Meta preserve data from “Scuba.” Barnes Decl., ¶ 26, Ex. 2 (3/23/23
17 letter). In response, Meta identified “Scuba” as “                                                        .”
18 Id., ¶ 27, Ex. 3 (5/18/23 letter). At a meet and confer, Meta stated that Scuba contains data that is

19                              . Id., ¶ 28. Based on counsel’s experience, Plaintiffs reasonably believe that
20 Scuba will be a crucial source of discovery in this case. As a                          log, it likely has a
21 wide variety of relevant information on how Meta actually uses the at-issue data.

22           To date, Meta has not produced any documents concerning Scuba. Id., ¶ 29.
23 / / /

24 / / /

25 / / /

26
     6
    See Facebook Help Center, “Download a copy of your information on Facebook,” available at
27
   https://www.facebook.com/help/212802592074644; Facebook Help Center, “Review your Off-
28 Facebook activity,” available at https://www.facebook.com/help/2207256696182627.
                                                   7
                                 MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                 CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 13 of 30




 1                            b.       Relevant Data Sources Identified in Public Engineering Documents,

 2                                     Court Filings, and Meta’s Limited Production

 3           Meta has described the following additional relevant data sources in public engineering

 4 documents and court filings. Barnes Decl., ¶¶ 30-31, 33, 35, 37-38, 40-41.

 5           1.     “Shared Foundations: Modernizing Meta’s Data Lakehouse”

 6           In January 2023, Meta engineers published a white paper describing how Meta “transformed

 7 the legacy data lake-house stack at Meta” to create “a more modern data architecture.” Barnes Decl.,

 8 ¶ 30, Ex. 5. The paper illustrates the “high level schematic” of the architecture, including “Logs”

 9 containing data originating from “WWW” (e.g., web-properties that deploy the Pixel):

10

11

12

13

14

15

16

17

18

19

20   Id., ¶ 31.
21           To date, Meta has not produced any documents identifying or concerning the logs identified
22 in the paper. Id., ¶ 32.

23           2. TAO
24           Meta’s engineering website describes “The Associations and Objects” (“TAO”) as “one of
25 the most important data stores at Facebook[.]”7 Meta characterizes TAO as a “data store for the

26

27   7
    Engineering at Facebook, “TAO:: The power of the graph,” available at
28 https://engineering.fb.com/2013/06/25/core-data/tao-the-power-of-the-graph/
                                                   8
                                   MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                   CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 14 of 30




 1 social graph,” i.e., a graph derived from users’ comments, check-ins, likes, and other activities. Id.;

 2 Barnes Decl., ¶ 33, Ex. 6. The graph allows internal and external developers to store, cache, and

 3 query the graph. Id. Meta illustrates an example of a TAO graph:8

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17           To date, Meta has not produced any documents concerning TAO. Barnes Decl., ¶ 34 .

18           3. MySQL

19           In Consumer Privacy, Meta describes MySQL as “TAO’s backbone” that “provides
20 transactional and availability properties to columnar data” such as “a user’s comment,” “comment

21 id, user id, and type of reaction.” Barnes Decl., ¶ 35, Ex. 6.

22           To date, Meta has not produced any documents concerning MySQL. Id., ¶ 36.
23           4. ZippyDB/Akkio, Memcache, and Laser
24           In Consumer Privacy, Meta identified ZippyDB/Akkio, Memcache, and Laser as additional
25 data sources associated with TAO. Barnes Decl., ¶ 37, Ex. 6. For instance, Meta described Laser as

26

27   8
    Engineering at Facebook, “TAO:: The power of the graph,” available at
28 https://engineering.fb.com/2013/06/25/core-data/tao-the-power-of-the-graph/
                                                   9
                              MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
     Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 15 of 30




 1 “an indexing service” that reads and indexes data on a per user basis to “support first-party (i.e.

 2 Meta) products.” Id., ¶ 38, Ex. 6.

 3          To date, Meta has not produced any documents concerning these sources. Id., ¶ 39.

 4          5. Puma, Swift, & Stylus

 5          Meta published a paper titled “Realtime Data Processing at Facebook” that explains how

 6 Meta uses realtime data processing systems. Barnes Decl., ¶ 40. The paper identifies Meta’s “stream

 7 processing systems” that support the realtime data processing as “Puma, Swift, and Stylus.” Id.

 8 Meta’s paper illustrates an overview of the systems:

 9

10

11

12

13

14

15

16

17

18

19 Id., ¶ 41, Ex. 7.

20          To date, Meta has not produced any documents concerning Puma, Swift, or Stylus. Id., ¶ 42.

21          6. Log Sources Identified in Meta’s Production

22          Meta produced an internal document

23                       . Barnes Decl., ¶ 54, Ex. 17 (PIXEL_HEALTH00000064). However, other than

24 the fact that these data sources are identified in Ex. 17, Meta has not produced any other information

25 about them. Id., ¶ 55.

26                  2.      Meta’s Omissions – The Pixel Filter

27          Meta’s production is also deficient in that it omits discovery related to the Pixel Filter, a tool

28 that Meta has acknowledged would impact the data flow. Specifically, in its opposition to Plaintiffs’
                                                10
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
         Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 16 of 30




 1 motion for preliminary injunction, Meta argued that its “filter” alters the flow of Pixel data. See

 2 Declaration of Tobias Wooldridge, Dkt. 76-1 at ¶ 8 (“the filter prevents that detected data from

 3 being ingested into Meta’s ads ranking and optimization systems.”). In denying Plaintiffs’ motion,

 4 the Court noted that without the benefit of discovery, the Court had “no reason not to credit Meta’s

 5 assertions[.]” Dkt. 159 at 31-32. However, the Court stated, “[d]iscovery will eliminate some of

 6 these unknowns. . .Should plaintiffs learn that Meta’s filtration system is indeed ineffective or that

 7 Meta can readily refine its systems to block the patient information at issue here, the balance of

 8 equities may at that point tilt in favor of an injunction.” Id. at 32. Clearly, documents related to the

 9 Filter, its design, and its effectiveness (or lack thereof), are all directly relevant to Meta’s core

10 defense. The Court’s order on the motion to dismiss made similar statements. Dkt. 316 at 4-5 (“What

11 Meta’s true intent is, what steps it actually took to prevent receipt of health information, the efficacy

12 of its filtering tools, and the technological feasibility of implementing other measures to prevent the

13 transfer of health information, all turn on disputed questions of fact that need development on a full

14 evidentiary record.”).

15           To date, Meta’s document productions contained only a single document concerning the

16 purported filter and no documents regarding its data flow. Barnes Decl., ¶ 43.9 Furthermore, when

17 Meta made a limited set of its source code available for review, it failed to produce any source code

18 related to the Filter. Id., ¶ 49.

19

20

21   9
       On July 7, 2023, Meta produced a list of Filter keywords in an Excel spreadsheet. Barnes Decl., ¶
22   44, Ex. 8. This document was produced only after Plaintiffs stated that they would move to
     compel immediate production if Meta continued to delay production of the Filter keyword list that
23   Meta relied upon and referenced in opposition to the motion for preliminary injunction. Id. The
     produced document, however, appears to be created by counsel. Upon receipt, Plaintiffs
24
     immediately inquired as to whether the Excel spreadsheet was counsel created. Id., ¶ 45, Ex. 9
25   (7/18/23 letter). Meta refused to answer. On July 19, 2023, Plaintiffs served four follow up
     Requests for Production seeking the underlying documents from which the Excel spreadsheet was
26   created. Id., ¶ 46, Ex. 10. Meta responded that it would produce those documents but to date has
     not produced any responsive documents nor provided any timeframe for production, despite
27   Plaintiffs’ repeated (at least four different) inquiries. Id., ¶¶ 47-48, Ex. 11 (8/21/23 letter), Ex. 12
28   (9/14/23 letter), Ex. 13 (9/18/23 letter), Ex. 14 (9/22/23 letter).
                                                       11
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 17 of 30




 1                     3.      Meta’s Omissions – Fields

 2              RFP No. 7 requests documents identifying and describing fields in relevant data sources, but

 3 Meta’s production to date has omitted this category of discovery entirely. Barnes Decl., ¶ 5.

 4              Meta has not produced any information on fields stored in the Hive, Switchboard,

 5 DYI/DYD, Everstore, Manifold, Scuba, TAO, MySQL, ZippyDB/Akkio, Memcache, Laser, Puma,

 6 Stylus, or Swift. Barnes Decl., ¶ 56(a). Nor did it produce information on fields in the

 7 that Meta’s limited production identified as containing Pixel data. Id., ¶ 56(c).

 8              Meta produced another document that references data sources “                        ” and

 9 “               .” Id., ¶ 52, Ex. 16. Public engineering documents from Meta suggest that “            ”

10 is an important data source for this case. In a public post about “Scribe,” Meta states that its

11 “hardware infrastructure comprises millions of machines, all of which generate logs that we need to

12 process, store, and serve.”10 Meta explains that, “eventually, every log makes it to one of Scribe’s

13 back-end servers,” which is called “LogDevice, a distributed store for logs.”11 Then, “[o]nce

14 LogDevice persistently stores a record in a partition, the record becomes available for reading.”12

15 Although “Scribe retains records in LogDevice for a limited amount of time – typically a few days,

16 … [c]ustomers that require retention for longer than a few days typically push their logs to long-

17 term storage.”13 Other public documents place Scribe at the heart of Meta’s log storage systems.

18 “Tulip: Schematizing Meta’s Data Platform” illustrates that Scribe sends data to a “Data analytics

19 reading library”:14

20

21

22

23   10
     Engineering at Meta, “Scribe: Transporting petabytes per hour via a distributed, buffered
24 queueing system,” available at https://engineering.fb.com/2019/10/07/data-infrastructure/scribe/
     11
25        Id.
     12
          Id.
26   13
          Id.
27   14
      Engineering at Meta, “Tulip: Schematizing Meta’s data platform,” available at
28 https://engineering.fb.com/2022/11/09/developer-tools/tulip-schematizing-metas-data-platform/.
                                                 12
                                  MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                  CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 18 of 30




 1

 2

 3

 4

 5

 6

 7

 8

 9          The same document states that “logging schema are published to various systems in the data

10 platform” at Meta that “is translated into a serialization scheme” that “holds lists of (field name,

11 field type, field ID) for a corresponding logging schema as well as the field history.”

12

13

14

15

16

17

18 Id.

19          These documents suggest that responsive documents are readily available at Meta. Yet, Meta

20 did not produce any documents about fields in               or             . Barnes. Decl., ¶ 53.

21          Further, Meta’s production indicates

22                                                       .” Id., ¶ 50, Ex. 15. Similarly, Meta’s public

23 developer documentation identifies that it stores data collected from the Pixel and other sources in

24 “containers.”15 Meta did not produce any documents identifying the                   or containers that

25 contain relevant data or the fields within them. Barnes Decl., ¶¶ 51, 56 (d), (e).

26

27   15
      Meta for Developers, “Conversions API for App Events,” available at
28 https://developers.facebook.com/docs/marketing-api/conversions-api/app-events.
                                                 13
                              MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 19 of 30




 1          In addition, Meta’s production does not contain any documents identifying fields relating to

 2 inferred or derived data (as opposed to raw data) that is comingled with Pixel data. Id., ¶ 56(f).

 3          Finally, Meta omitted documents concerning a number of fields disclosed in Consumer

 4 Privacy, and which Plaintiffs inquired about in early preservation discussions. Id., ¶ 56(g). These

 5 fields include UserID, Replacement ID, Separable ID, and App Scope Identifiers. Id., ¶ 56(g), Ex.

 6 19.

 7          Months after Plaintiffs notified Meta of its deficiencies, Meta offered to provide Plaintiffs

 8 with a list of fields that would be created for purposes of this litigation. Id., ¶ 71. Plaintiffs reiterated

 9 that RFP No. 7 requests the underlying documents that identify the fields and which Meta would

10 presumably rely upon to create its list. Id.; see also id., ¶ 72, Ex. 31 (9/1/23 letter). Meta, one of the

11 largest data companies in the world, responded that no such documents exist. Id., ¶ 73, Ex. 34

12 (9/15/23 letter). This response conflicts with the public document above, which states that “logging

13 schema are published to various systems in the data platform” at Meta that “is translated into a

14 serialization scheme” that “holds lists of (field name, field type, field ID) for a corresponding

15 logging schema as well as the field history.”

16                   4.      The Parties’ Discussions Regarding RFP Nos. 5-7

17          On July 7, 2023, Plaintiffs sent Meta detailed correspondence that explained the above
18 omissions in Meta’s production. Barnes Decl., ¶ 58, Ex. 20 (7/7/23 letter); see also id., ¶ 57, Ex. 19

19 (7/3/23 email). Ten days later, Meta responded that it was “coordinating to find available” dates for

20 a meet and confer. Id., ¶ 59, Ex. 21 (7/17/23 email). Over the course of six weeks, Plaintiffs sent

21 Meta a total of eight letters, requesting that Meta engage in discussions on the issue. Id., ¶ 57, Ex.

22 19 (7/3/23 email), ¶ 58, Ex. 20 (7/7/23 letter); ¶ 60, Ex. 22 (7/24/23 letter), ¶ 61, Ex. 23 (7/31/23

23 letter), ¶ 62, Ex. 24 (8/2/23 letter), ¶ 64, Ex. 25 (8/7/23), ¶ 65, Ex. 26 (8/14/23 letter), ¶ 66, Ex. 28

24 (8/19/23 letter). Meta responded that it “continued to investigate” additional responsive documents

25 but it had “not identified any such documents.” Id. ¶ 63, Ex. 25 (8/5/23 letter). Finally, on August

26 28-29, 2023, the parties met and conferred. Id. ¶ 69. At the conference, Meta repeated that it was

27 investigating the issues raised in Plaintiffs’ letters. Id. Plaintiffs explained again that Meta’s clearly

28 insufficient production violated the Court’s order. Id. However, for the first time, Meta also stated
                                                    14
                                MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 20 of 30




 1 that based on the “phrasing” of Plaintiffs’ Requests, it was unaware of any responsive documents

 2 other than the 19 already produced. Id.

 3          There is no reason for any confusion: data flow, data sources, and fields have been an issue

 4 of discovery since the start of this case. See, e.g., id., ¶¶ 74-76, Ex. 33 (3/14/23 Hr’g Tr.); Ex. 2

 5 (3/23/23 letter); ¶ 80, Ex. 35 (4/4/23 letter); ¶¶ 85-87, Ex. 37 (4/20/23 Hr’g Tr.); ¶ 89, Ex. 39

 6 (4/26/23 letter); ¶¶ 91-94, Ex. 40 (5/23/23 Hr’g Tr.); ¶ 97, Ex. 42 (5/31/23 letter). In short, the data

 7 flow, data sources, and fields information at issue have been discussed repeatedly and at length and

 8 undermine the belated claims of confusion as to “phrasing.”

 9          There is no reason for any confusion: data flow, data sources, and fields have been an issue

10 of discovery since the start of this case. See, e.g., id., ¶¶ 74-76, Ex. 33 (3/14/23 Hr’g Tr.); Ex. 2

11 (3/23/23 letter); ¶ 80, Ex. 35 (4/4/23 letter); ¶¶ 85-87, Ex. 37 (4/20/23 Hr’g Tr.); ¶ 89, Ex. 39

12 (4/26/23 letter); ¶¶ 91-94, Ex. 40 (5/23/23 Hr’g Tr.); ¶ 97, Ex. 42 (5/31/23 letter). In short, the data

13 flow, data sources, and fields information at issue have been discussed repeatedly and at length and

14 undermine the belated claims of confusion as to “phrasing.”

15                  5.      Why the Information Is Critical

16          As a threshold matter, Meta’s boilerplate relevance objection is insufficient to preserve an
17 actual objection to production, and even if it was sufficient, Meta forfeited any such objection by

18 explicitly agreeing to produce the discovery Plaintiffs sought. Nevertheless, Plaintiffs believe it is

19 important for the Court to understand why the documents are not just relevant, but foundational to

20 this case and the rest of discovery. Their importance is underscored by the facts that (1) Plaintiffs

21 moved to compel a date certain by which they would be produced—prior to production of any other

22 documents; (2) Plaintiffs told the Court in response to its request for views on a Special Master for

23 preservation issues, that no Special Master would be necessary so long as Meta produced the

24 documents responsive to these RFPs; and (3) the Court’s orders on the motion for preliminary

25 injunction and motion to dismiss emphasize the need for a “full evidentiary” record on Meta’s

26 systems and how they work. Plaintiffs have repeatedly emphasized the importance of these

27 documents for several reasons:

28 / / /
                                                      15
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 21 of 30




 1              First, how Meta actually uses the at-issue health information is relevant to all claims and

 2 defenses. Plaintiffs’ expert, Dr. Libert, explains that it is not possible to do an adequate investigation

 3 of how Meta actually uses the at-issue data in the absence of the documents requested in RFP Nos.

 4 5-7. Libert Decl. ¶ 14.

 5              Second, Meta has indicated that its primary defense will be intent – specifically, that it did

 6 not intend to collect the at-issue data and is doing the best it can to prevent such data from being

 7 used. See, e.g., Dkt. 232 (Defendant Meta Platforms, Inc.’s Notice of Motion and Motion to Dismiss

 8 Consolidated Class Action Complaint (“Meta MTD”) at 5-6. Evidence of Meta’s collection, data

 9 flow, and different uses of the at-issue data are therefore critical to rebut Meta’s intent defense. See

10 Libert Decl. ¶ 15. The documents Plaintiffs requested should exist inside Meta as a matter of

11 standard operating procedure to ensure that its systems abide by its statements and purposes. “Step

12 1” of a privacy typical audit involves taking a “data inventory” that involves preparation of “a

13 flowchart that depicts the flow of personal information, including inputs, processing, points of

14 storage, outputs, personnel, and/or third parties that are involved in various aspects of the flow, as

15 well as who could access the personal information.”16 The reason is simple: “documentation of the

16 data flows can … identify any points in the data flow that represent significant inherent risks and

17 whether mitigating controls exist for those risks.”17 To be effective, the “flowchart should identify

18 the information system components (networks, applications, databases, end-user computing, etc.),

19 used in receipt, processing, storage, access, and reporting of personal information.”18 Under the

20 Generally Accepted Privacy Principles adopted by the American Institute of Certified Public

21 Accountants, “[t]he information compiled in the data inventory … is necessary for the organization”

22 to conduct a risk assessment.19

23 / / /

24
     16
25      Journal of Accountancy, “GAPP Targets Privacy Risks,” available at
     https://www.journalofaccountancy.com/issues/2011/jul/20103191.html.
26   17
          Id.
     18
27        Id.
     19
28        Id. (emphasis added).
                                                         16
                                  MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                  CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 22 of 30




 1              Third, Meta has argued that it cannot be liable for an interception under the ECPA because

 2 healthcare providers consented to collection of this information. See Meta MTD at 6-9. Plaintiffs

 3 disagree. However, even if true, an exception exists if the communication was “intercepted for the

 4 purpose of committing any criminal or tortious act[.]” 18 U.S.C. § 2511(2)(d). Evidence of the data

 5 flow, fields, and backend systems containing the at-issue data is critical to the “criminal or tortious”

 6 element of 18 U.S.C. § 2511(2)(d).

 7              Fourth, evidence regarding dataflow and fields in these systems is relevant to show the

 8 extent to which the at-issue data is identifiable at collection and afterwards, which is a key

 9 component of standard privacy audit frameworks. For example, the Generally Accepted Privacy

10 Principles (GAPP) were created by the American Institute of Certified Public Accountants, Inc.20 to

11 help “facilitate privacy compliance and effective privacy management” of companies that collect

12 and maintain the personal information of individuals.21 GAPP establishes basic principles for the

13 management of privacy programs; the auditing privacy programs; and the measurement of the

14 performance of privacy programs.22 “Step 1” to applying these principles is “[u]nderstanding the

15 data associated with personal information is useful for identifying the processes that involve or could

16 involve personal data, and for the owner of those processes.”23 The reason understanding “end-to-

17 end” data flow is critical, is because, once that is accomplished, an auditor can truly understand the

18 specific personal information the organization collect; uses in carrying out business; and how the

19 information is “obtained, captured, stored, and transmitted.”24 In other words, end-to-end data flow

20 is critical to exactly what Plaintiffs endeavor to do here: understand and audit Meta’s data flow as

21 it relates to its legal and contractual obligations related to personal health information. If the at-issue

22

23   20
      Generally Accepted Privacy Principles, available at
24 https://bcourses.berkeley.edu/courses/1457298/files/70759534/download.
     21
25        Id. at iii-iv.
     22
          Id. at 8.
26   23
      Journal of Accountancy, “GAPP Targets Privacy Risks,” available at
27 https://www.journalofaccountancy.com/issues/2011/jul/20103191.html.
     24
28        Id.
                                                        17
                                 MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                 CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 23 of 30




 1 data is collected and stored in systems that contain fields that are tied to a User ID and have a

 2 sufficient level of “entropy,” those fields can be used to tie the at-issue data back to the individual

 3 user even if the Facebook User ID is removed. For example, evidence produced in the Consumer

 4 Privacy case suggests that, so long as a person keeps their Facebook account, Meta never fully de-

 5 identifies the information it has collected about them. Barnes Decl., ¶ 98, Ex. 43.

 6          GAPP also highlights the need for businesses to create an intelligible classification process

 7 which identifies sensitive information and applies “[s]pecific security and privacy policies and

 8 procedures” for such information.25 Again, Plaintiffs are trying to understand whether Meta’s

 9 filtering process is functional and competent given that it is the foundation of Meta’s defense. And,

10 again, understanding the end-to-end data flow of information which flows—or does not flow—

11 through the filter is essential to evidence of this defense.

12          Fifth, the requested documents are likely relevant to show how much Meta profited from its

13 conduct, for individual class members and for the class as a whole. Plaintiffs reasonably believe that

14 Meta may maintain logs with revenue information attached to individual users and specific data

15 collection actions, including its collection and use of at-issue data. Similarly, Plaintiffs reasonably

16 expect that Meta may track conversions to take credit for user actions based on seeing an ad on

17 Facebook or the Facebook Audience Network that was placed by a healthcare provider. Such

18 information is foundational to discovery into damages and unjust enrichment.

19          Sixth, the requested documents are likely to contain evidence relevant to Meta’s geo-location

20 defense under California statutory claims, for which Meta argues Plaintiffs must show a sufficient

21 nexus to activity that took place in California. Meta MTD at 10, 12. For Plaintiffs Cal. Pen. Code

22 § 631 claim, Meta states that the statute requires actions that occur “while the [communication] is

23 in transit or passing over any wire, line, or cable, or is being sent from, or received at any place

24 within this state.” Plaintiffs reasonably expect that Meta will have logs indicating the location of the

25 patient, the healthcare provider’s webserver, and Meta’s servers involved in the interception,

26

27   25
      Generally Accepted Privacy Principles, p. 14-15, available at
28 https://bcourses.berkeley.edu/courses/1457298/files/70759534/download.
                                                   18
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 24 of 30




 1 processing, and storage of the at-issue data.

 2            Seventh, the requested documents are likely to contain evidence relevant to the creation and

 3 use of user profiles with at-issue data. Meta’s documents produced here (and in other litigation)

 4

 5         . See Barnes Decl., ¶ 50, Ex. 15. Plaintiffs reasonably believe that the             can be and is

 6 used to create user profile information for purposes of targeted advertising. Meta claims that it does

 7 not use the at-issue information for such purposes. If true, the requested documents will likely

 8 support Meta’s defense. If not true, the requested documents will inform how such profiles are

 9 formed and used.

10            Eighth, the requested documents may contain evidence of intentional wrongdoing via the

11 placement of certain characterizations of the data in the logs. For example,

12                                                                           , Barnes Decl., ¶¶ 99-100, Exs.

13 44 & 45,26 and claims that it flags certain information tagged as potentially sensitive health

14 information by the Filter, Dkt. 142-1, Suppl. Wooldridge Decl., ¶¶ 22-26. It is highly relevant if

15 Meta keeps a record of such information in fields associated with the at-issue data. The existence of

16 such fields alongside Meta’s continued use of the at-issue data in any fashion is proof of intent and

17 relevant to whether it was tortious or criminal intent for the interception.

18 / / /

19
     26
20      After multiple conferences, Meta provided an amended answer to Interrogatory Nos. 1 and 3
     identifying the raw number of advertisers in certain health-related verticals. Barnes, Decl., ¶ 101.
21   Plaintiffs responded by requesting that Meta identify the actual entities classified as health-related
     either via verticals or the Filter, consistent with the Court’s statements at the hearing on the
22   parties’ Joint Letter Brief filed at Dkt. 223 and the Court’s Order at Dkt. 278 (ordering parties, on
     June 16, 2023, to confer “about whether Meta can provide information—e.g. a list of entities
23   served by the Health Division, websites or web pages identified by the filter mechanism, and any
24   health-related classifications used by Meta”). Id., ¶ 102. After additional conferences, the parties
     reached impasse on the issue of whether Meta would identify the actual entities rather than
25   provide a raw number. Id., ¶ 103, Ex. 30. On August 30, 2023, Plaintiffs sent Meta a letter noting
     the impasse and requesting a briefing schedule. Id. Meta requested another conference. Id., ¶ 104.
26   On September 1, 2023, Meta agreed to produce the actual lists, not just the raw numbers. Id., ¶
     104, Ex. 31. Despite repeated requests that Meta inform Plaintiffs when it would provide those
27
     lists, Meta has thus far failed to provide the lists or even a date by which it will do so. Id., ¶¶ 105-
28   106, Exs. 12, 13, & 14.
                                                        19
                                MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                                CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 25 of 30
     Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 26 of 30




 1 to conduct an adequate systems-privacy audit in the absence of robust production the information

 2 requested by RFP Nos. 5-7. See Libert Decl. ¶¶ 11, 15, 19-26.

 3          Finally, Plaintiffs sought production of this information early in the discovery process

 4 because it will inform and guide the remainder of discovery – including additional discovery

 5 requests, additional requests for custodians, who Plaintiffs will choose to depose, and the specific

 6 questions they will ask of those chosen deponents. Plaintiffs will be significantly prejudiced if these

 7 documents are not produced until later in the litigation because they will have been deprived of the

 8 opportunity to craft a discovery plan with the documents that Plaintiffs’ expert Timothy Libert states

 9 are the most important documents to determine how Meta uses the information—and whether the

10 Filter has any impact at all.

11 III.     LEGAL STANDARDS

12          “Federal Rule of Civil Procedure 37(b)(2) gives a district judge discretion to ‘make such

13 orders ... as are just’ in regard to a party's failure to obey a discovery order.” Valley Engineers Inc.

14 v. Elec. En’g Co., 158 F.3d 1051, 1056 (9th Cir. 1998) (quoting Fed. R. Civ. P. 37(b)(2)). Bad faith

15 is not required to obtain relief. See Hyde & Drath v. Baker, 24 F.3d 1162, 1171 (9th Cir. 1994), as

16 amended (July 25, 1994). Furthermore, “[t]he Court has the inherent authority to enforce its orders.”

17 Apple Inc. v. Samsung Elecs. Co., No. 11-CV-01846-LHK, 2018 WL 1586276, at *20 (N.D. Cal.

18 Apr. 2, 2018).

19 IV.      ARGUMENT

20          Meta’s production in response to the Court’s June 13th order is plainly deficient. The

21 documents produced are largely pulled from Meta’s public websites and do not contain any of the

22 information about fields or data sources expressly called-for in Plaintiffs’ requests. Although some

23 data flow documents were produced, those documents are also not sufficient because they do not

24 identify impacts of the Filter or how data flows to, from, or within systems Meta has identified as

25 “                      ” and/or “                              ” including, but not limited the

26                                 . The production also excludes known data sources that have been the

27 subject of discussions among the parties. When Plaintiffs raised these deficiencies, Meta continued

28 to delay without offering explanation.
                                                      21
                              MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
      Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 27 of 30




 1          Meta’s deficient production is not the result of overly narrow discovery requests or a

 2 misunderstanding about the scope of Plaintiffs’ Requests. Plaintiffs have repeatedly inquired about

 3 specific data sources and fields. See Barnes Decl., Ex. 2 (3/23/23 letter) (identifying Hive, Scuba,

 4 Switchboard, DYI, Manifold, Everstore, User ID, Replacement ID, Separable ID, App-Scoped ID);

 5 Ex. 35 (4/4/23 letter); Ex. 20 (7/7/23 letter). Plaintiffs have further stressed the need for “a robust

 6 disclosure process up front for this backend [data] system discovery[.]” Id., ¶ 76, Ex. 33 (3/14/23

 7 Hr’g Tr.). Meta suggested it understood: “[W]e are trying to figure out where the data is for all of

 8 these cases, and there’s a lot of data; but we have every intention of understanding what it is they

 9 want and making sure that we are preserving it or talking to them about, you know, where it may be

10 difficult to do so.” Barnes Decl., ¶ 86; Ex. 37 (4/20/2023 Hr’g Tr.). And indeed, the Court

11 understood that Meta had agreed to produce responsive documents.

12          At no point since the Court’s June 13th order did Meta seek reconsideration. Nor did Meta

13 at any time raise to Plaintiffs that it did not believe it was under an obligation to produce the

14 information identified in RFP Nos. 5-7, discussed at length during several meet-and-confers and

15 letters, and described by Meta itself as relevant to this case. Nevertheless, Meta has failed to produce

16 information central to basic understanding of its data collection, use, storage, and filtration systems.

17          Plaintiffs’ efforts to resolve this matter without the Court’s assistance have failed. There is

18 no indication that Meta will produce any further documentation without judicial intervention, much

19 less that any production would be at any time soon. At this point, the parties are closer to the close

20 of fact discovery than they are to the date RFP Nos. 5-7 were served.

21          Because Meta agreed and was ordered to produce responsive documents by June 30, 2023,

22 there is nothing left for Plaintiffs to do but seek the Court’s assistance in ordering production of this

23 information that is foundational to the litigation—again.

24 V.       CONCLUSION

25          Plaintiffs respectfully request the Court order Meta to comply with the June 13th Order by

26 producing documents responsive to RFP Nos. 5-7, including but not limited to:

27          1.      Documents concerning Hive, DYI/DYD, Switchboard, Everstore, Manifold, Scuba,

28 logs referenced in Meta’s January 2023 white paper titled “Shared Foundations: Modernizing
                                               22
                               MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                               CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
     Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 28 of 30




 1 Meta’s Data Lakehouse,” containers,                    ,            ,             , TAO, MySQL,

 2 ZippyDB/Akkio, Memcache, Laser, Puma, Stylus, Swift, and the filter identified in Meta’s

 3 opposition to Plaintiffs’ motion for preliminary injunction, as well as any other data source as yet

 4 unknown to Plaintiffs due to Meta’s failure to produce responsive documents;

 5         2.      The fields within each data source identified, including derived and inferred fields;

 6 and

 7         3.      Corresponding data flow, including through Meta’s backend systems such as Hive

 8 and the list included in paragraph 1.

 9         Plaintiffs request that the order specify that Meta must produce this information by no later

10 than November 14, 2023, or at a time the Court considers reasonable, as well as all other forms of

11 relief, including monetary sanctions, a finding of contempt, or any other relief the Court deems

12 appropriate.

13 Dated: October 3, 2023

14                                               By: /s/ Jay Barnes
15                                               SIMMONS HANLY CONROY LLP
                                                 Jason ‘Jay’ Barnes (admitted pro hac vice)
16                                                 jaybarnes@simmonsfirm.com
                                                 112 Madison Avenue, 7th Floor
17                                               New York, NY 10016
                                                 Tel: 212-784-6400
18                                               Fax: 212-213-5949
19                                               COHEN MILSTEIN SELLERS & TOLL PLLC
                                                 Geoffrey Graber, State Bar No. 211547
20                                                 ggraber@cohenmilstein.com
                                                 1100 New York Avenue NW, Fifth Floor
21                                               Washington, DC 20005
                                                 Tel: 202-408-4600
22                                               Fax: 202-408-4699
23                                               KIESEL LAW LLP
                                                 Jeffrey A. Koncius, State Bar No. 189803
24                                                 koncius@kiesel.law
                                                 8648 Wilshire Boulevard
25                                               Beverly Hills, CA 90211
                                                 Tel: 310-854-4444
26                                               Fax: 310-854-0812
27                                               TERRELL MARSHALL LAW GROUP PLLC
                                                 Beth E. Terrell, State Bar No. 178181
28                                                bterrell@terrellmarshall.com
                                                    23
                             MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                             CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
     Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 29 of 30




 1                                        936 North 34th Street, Suite 300
                                          Seattle, WA 98103
 2                                        Tel.: 206-816-6603
                                          Fax: 206-319-5450
 3
                                          GIBBS LAW GROUP LLP
 4                                        Andre M. Mura, State Bar No. 298541
                                            amm@classlawgroup.com
 5                                        1111 Broadway, Suite 2100
                                          Oakland, CA 94607
 6                                        Tel.: 510-350-9700
                                          Fax: 510-350-9701
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              24
                       MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                       CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
     Case 3:22-cv-03580-WHO Document 323 Filed 10/03/23 Page 30 of 30




 1                               CIVIL L.R. 5-1(h)(3) ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(h)(3), I, Jeffrey A. Koncius, hereby attest under penalty

 3 of perjury that concurrence in the filing of this document has been obtained from all signatories.

 4   Dated: October 3, 2023                                    /s/ Jeffrey A. Koncius
                                                               Jeffrey A. Koncius
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     25
                              MOTION TO ENFORCE THE COURT’S JUNE 13, 2023 ORDER
                              CONSOLIDATED CASE NO. 3:22-CV-03580-WHO (VKD)
